                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                                     No. 08-CR-4060-LRR
 vs.
                                                                         ORDER
 MICHAEL JAMES KLUGE,
                  Defendant.
                                      ____________________

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                                        I. INTRODUCTION
         The matters before the court are Defendant Michael James Kluge’s “Pro Se Motion
for Judgment of Acquittal [and] Motion for New Trial” (“Motion”) (docket no. 587) and
“Motion in Resistance, Motion to Reconsider and Application for Hearing” (“Motion to
Reconsider”) (docket no. 606) (together, “Motions”).



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                             II. PROCEDURAL HISTORY
      On November 20, 2008, a grand jury returned a four-count Third Superseding
Indictment (“Indictment”) (docket no. 242) against Defendant and twenty-two other
persons.    The Indictment charged defendant with Conspiracy to Manufacture
Methamphetamine in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), 841 (b)(1)(B),
841(b)(1)(C), 851 and 846.
      Assistant United States Attorney Jack Lammers represented the government.
Attorney Pamela A. Wingert represented Defendant. Defendant waived arraignment on
the (docket no. 328) and trial was set before the undersigned.1
      From February 2 - 4, 2009, the court held a jury trial. On February 4, 2009, the
jury found Defendant guilty of Count 1. The jury answered an interrogatory finding
unanimously and beyond a reasonable doubt that the quantity of the drugs involved in the
conspiracy was 50 grams or more of actual (pure) methamphetamine (docket no 537).
      On February 11, 2009, Attorney Wingert timely filed a Motion for Judgment of
Acquittal (docket no. 550) and a Motion for New Trial (docket no. 549). On February 12,
2009, Chief Magistrate Judge Paul Zoss held an ex parte status conference. Defendant
orally moved to dismiss Attorney Wingert and represent himself. The motion was granted,
and Attorney Wingert was discharged and Defendant was permitted to represent himself.
The court directed that standby counsel be appointed for Defendant. Judge Zoss also
granted Defendant’s oral motion for additional time to supplement the Motion for
Judgment of Acquittal and Motion for New Trial, setting March 13, 2009 as the new
deadline. Panel attorney E. Daniel O’Brien was appointed as standby counsel.
      On February 13, 2009, the court entered an order (docket no. 552) denying without
prejudice the Motion for Judgment of Acquittal and the Motion for New Trial for failure



      This case was reassigned to the undersigned by order of Senior Judge O’Brien on
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November 14, 2008. Docket no. 231.

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to comply with the local rule requiring that a brief be contemporaneously filed in support
of any motion.
       On February 23, 2009, Defendant filed a pro se Motion for Extension of Time
Limits (docket no. 564).      On February 24, 2009, the court denied the Motion for
Extension (docket no. 566). On March 9, 2009, Defendant filed a Motion for New
Standby Counsel and to Stay the Motion Deadline (docket no. 575). After a hearing,
Judge Zoss denied the Motion for New Standby Counsel and to Stay the Motion Deadline
(docket no. 584).
       On March 16, 2009, Defendant filed the Motion. In the Motion, Defendant argues
that he is entitled to a Judgment of Acquittal because there was insufficient evidence at trial
to support the verdict. He also argues that he is entitled to a new trial because the verdict
was contrary to the weight of the evidence, his attorney was ineffective at trial because she
failed to object to inadmissible prejudicial evidence and because the court did not poll the
jurors. In the Motion to Reconsider, Defendant adds new grounds for the Motions and
requests that the court command the presence of a witness who he claims has evidence
regarding this case. The government argues, inter alia, that the Motion was not timely
filed. The court agrees with the government that the motion was not filed in a timely
fashion and is time barred.2 The government also argues that the verdict is fully supported
by the evidence and that the evidence does not preponderate against the verdict such that
a new trial is required. Further, the government argues there is no basis for granting a
new trial on any of the other grounds alleged.


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        With regard to the timeliness of the motion, the court finds the motion was received
on Monday March 16, three days late. Defendant argues that his motion was timely filed,
relying on Local Rule 6 and Scuba v. Brigano, 527 F.3d 479, 4814 (6th Cir. 2007). Local
Rule 6 clearly provides it does not serve to extend a deadline established by court order.
Defendant’s reliance on Scuba is also misplaced. Scuba deals with the timeliness of the
filing of an appeal from denial of a habeas corpus petition and the so-called federal pro se
prisoner mailbox rule. Id. It has no application to a deadline set in a court order.

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      The court finds that oral argument on the Motion is unnecessary and would not be
helpful. The Motion is fully submitted and ready for decision.
                               III. TRIAL EVIDENCE
      The evidence came in through the testimony of witnesses and paper exhibits. The
witnesses called by the government were law enforcement officers, a Drug Enforcement
Administration chemist and cooperating co-defendants. The law enforcement officers
relayed considerable information about manufacturing methamphetamine in general as well
as manufacturing methamphetamine in the instant case. Each of the cooperating witnesses
gave detailed testimony concerning Defendant’s role in the conspiracy, which was
primarily to supply pseudoephedrine pills to Tony Grenier to manufacture
methamphetamine. The witnesses also incriminated themselves and others, giving detailed
testimony about the quantity of pseudoephedrine pills they and others supplied to Grenier.
The testimony of each cooperating co-defendant was corroborated in whole or in part by
the testimony of the other co-defendants and also the summary of the pseudoephedrine pill
logs obtained from area pharmacies. The pill log for Defendant (Government Exhibit 2)
was a significant item of evidence. All witnesses were subjected to focused and effective
cross-examination by Attorney Wingert, who was particularly thorough when cross-
examining cooperating co-defendants.
                               IV. LEGAL STANDARD
                         A. Motion for Judgment of Acquittal
      Federal Rule of Criminal Procedure 29 provides that “the court on the defendant’s
motion must enter a judgement of acquittal of any offense for which the evidence is
insufficient to sustain a conviction.” Fed. R. Crim. P. 29(a). Such a motion is permitted
after trial, in which case the court may set aside the verdict and enter a judgment of
acquittal. Fed. R. Crim. P. 29(c). It is well settled, however, that jury verdicts are not
lightly overturned. See United States v. Stroh, 176 F.3d 439, 440 (8th Cir. 1999). “A


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motion for judgment of acquittal should be granted only where the evidence, viewed in the
light most favorable to the government, is such that a reasonably minded jury must have
a reasonable doubt as to the existence of any of the essential elements of the crime
charged.” United States v. Mundt, 846 F.2d 1157, 1158 (8th Cir. 1988); see also United
States v. Cacioppo, 460 F.3d 1012, 1021 (8th Cir. 2006) (“A motion for judgment of
acquittal should be granted only ‘if there is no interpretation of the evidence that would
allow a reasonable jury to find the defendant guilty beyond a reasonable doubt.’” (quoting
United States v. Gomez, 165 F.3d 650, 654 (8th Cir. 1999)); United States v. Surratt, 172
F.3d 559, 563 (8th Cir. 1999) (holding that evidence should be viewed in light most
favorable to the government). The court must uphold the jury’s verdict so long as “a
reasonable-minded jury could have found [Defendant] guilty beyond a reasonable doubt.”
United States v. Hayes, 391 F.3d 958, 961 (8th Cir. 2004). It is not the province of the
court to weigh the evidence or evaluate the credibility of witnesses. Id. Those tasks are
left for the jury. Id.
                               B. Motion for New Trial
       Federal Rule of Criminal Procedure 33 provides that, “[u]pon the defendant’s
motion, the court may vacate any judgment and grant a new trial if the interest of justice
so requires.” Fed. R. Crim. P. 33(a). However, “[m]otions for new trials based on the
weight of the evidence are generally disfavored, United States v. Campos, 306 F.3d 577,
579 (8th Cir. 2002), and will be granted only where ‘a serious miscarriage of justice may
have occurred.’” United States v. Rice, 449 F.3d 887, 893 (8th Cir. 2006) (quoting United
States v. Huerta-Orozco, 272 F.3d 561, 565 (8th Cir. 2001)). Indeed, “[t]he granting of
a new trial under Rule 33 is a remedy to be used only ‘sparingly and with caution.’”
United States v. Dodd, 391 F.3d 930, 934 (8th Cir. 2004) (citing Campos, 306 F.3d at 579
(quoting United States v. Lincoln, 630 F.2d 1313, 1319 (8th Cir. 1980))).
       The evidentiary standard of review for new trials differs from the standard that is


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applied in a motion for judgment of acquittal.
       When a motion for new trial is made on the ground that the verdict is
       contrary to the weight of the evidence, the issues are far different from those
       raised by a motion for judgment of acquittal. The question is not whether
       the defendant should be acquitted outright, but only whether he should have
       a new trial. The district court need not view the evidence in the light most
       favorable to the verdict; it may weigh the evidence and in so doing evaluate
       for itself the credibility of the witnesses. If the court concludes that, despite
       the abstract sufficiency of the evidence to sustain the verdict, the evidence
       preponderates sufficiently heavily against the verdict that a serious
       miscarriage of justice may have occurred, it may set aside the verdict, grant
       a new trial, and submit the issues for determination by another jury.

Lincoln, 630 F.2d at 1319; see also United States v. Johnson, 474 F.3d 1044, 1051 (8th
Cir. 2007). “To prevail on [a motion for new trial on the basis of newly discovered
evidence] [D]efendant must prove that (1) the evidence was unknown or unavailable at the
time of trial, (2) the defendant did not lack diligence in attempting to uncover it, (3) the
newly found evidence is material, and (4) the evidence is likely to produce an acquittal if
a new trial is granted.” United States v. Grover, 511 F.3d 779, 783 (8th Cir. 2007) (citing
United States v. Haskell, 468 F.3d 1064, 1076 (8th Cir. 2006)).
                                       V. ANALYSIS
       In order to be convicted of Conspiracy to Manufacture Methamphetamine, the
government had to prove:
       One, between about October 1, 2007, and continuing through May 27, 2008,
       two or more persons reached an agreement or came to an understanding to
       manufacture methamphetamine;

       Two, the defendant voluntarily and intentionally joined in the agreement or
       understanding, either at the time it was first reached or at some later time
       while it was still in effect; and

       Three, at the time the defendant joined the agreement or understanding, he
       knew the purpose of the agreement or understanding.


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See 21 U.S.C. § 846; United States v. Johnson, 439 F.3d 947, 954 (8th Cir. 2006) (To
obtain a conviction for conspiracy, the government must prove the defendant “(1)had an
agreement to achieve an illegal purpose; (2) knew of the agreement; and (3) knowingly
became part of the agreement.”).
       To assist the jury in determining whether there was an agreement or understanding
to manufacture methamphetamine, the jury was instructed that the crime of manufacturing
methamphetamine has three elements, which are:
       One, the defendant intended to manufacture methamphetamine;

       Two, the defendant knew the material he intended to manufacture was a
       controlled substance, methamphetamine; and

       Three, the defendant voluntarily and intentionally carried out some act which
       was a substantial step toward manufacturing methamphetamine.

See 21 U.S.C. § 841. The jury was also advised that in the event they unanimously and
beyond a reasonable doubt found that Defendant committed the crime of Conspiracy to
Manufacture Methamphetamine, they would be required to determine the quantity of
methamphetamine involved in the conspiracy.
                         A. Motion for Judgment of Acquittal
       After thoroughly and carefully reviewing the trial record, the court finds that there
was sufficient evidence from which a reasonable-minded jury could have unanimously and
beyond a reasonable doubt found Defendant guilty of the crime of Conspiracy to
Manufacture Methamphetamine and that the amount of methamphetamine involved in the
conspiracy was fifty grams or more of pure (actual) methamphetamine. See Hayes, 391
F.3d at 961. Defendant’s arguments that the witnesses against him were not credible fails.
Questions of credibility are for the jury, not the trial judge. United States v. Kirkie, 261
F.3d 761, 768 (8th Cir. 2001).



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                               B. Motion for New Trial
      A new trial is also not warranted on the basis of allegations that Officer Dave
Wagner possessed relevant evidence that would impeach the testimony of trial witnesses.
Defendant fails to specify this “newly discovered” evidence. Instead, Defendant engages
in a long, rambling narrative containing speculation and conjecture as to what Officer
Wagner’s testimony would be and how it might potentially impeach the testimony of other
witnesses. Defendant then requests the court to investigate what Officer Wagner knows
and set a hearing. The court finds that a hearing is not justified or required based on
Defendant’s allegations. Defendant has not satisfied any of the elements set forth in
Grover. 511 F.3d at 783. The court notes that the fact that Officer Wagner may have
information relative to this case was never a secret. What he may or may not know is not
“newly discovered” evidence because, according to Defendant, it was in the discovery file
which Defendant saw prior to trial. The witness could have been called to testify at trial
by the defense, but was not. At best, the evidence would be cumulative and impeaching.
If the evidence were to be as Defendant suggests, the court finds its admission would not
produce an acquittal even if a new trial were granted.     Therefore the Motion for New
Trial based on newly discovered evidence is denied.
      Second, the Motion for New Trial must also be denied because the evidence does
not weigh heavily enough against the verdict such that the court concludes that a
miscarriage of justice may have occurred. See Lincoln, 630 F.2d at 1319. The court finds
the verdict is fully supported by the evidence.
      Third, Defendant argues that he is entitled to a new trial because Attorney Wingert
was incompetent in failing to file a motion in limine to prohibit mention of the fact that
Defendant had been in prison or other correctional institutions.          To prevail on an
ineffective assistance of counsel claim, Defendant must satisfy both of the following
components:
      First, the [Defendant] must show that counsel’s performance was deficient.

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      This requires showing that counsel made errors so serious that counsel was
      not functioning as the “counsel” guaranteed the [Defendant] by the Sixth
      Amendment. Second, the [Defendant] must show that the deficient
      performance prejudiced the defense. This requires showing that counsel’s
      errors were so serious as to deprive the [Defendant] of a fair trial, a trial
      whose result is reliable.

Strickland v. Washington, 466 U.S. 668, 687 (1984); see also Williams v. Taylor, 529
U.S. 362, 390 (2000) (restating Strickland standard).
      The court reviewed the record and found two direct references to Defendant’s prior
incarceration. While on direct examination, Tony Grenier was asked the following series
of questions:
                Q.   All right. Do you know the defendant, here, seated to
                     my right?
                A.   Yes
                Q.   What’s his name?
                A.   Mike.
                Q.   Mike what?
                A.   Kluge.
                Q.   And would you describe what his involvement was in
                     this?
                A.   Getting me pills.
                Q.   Did you personally get pills from him?
                A.   Yes.
                Q.   On how many occasions, if you know?
                A.   At least twice, for sure. It comes to mind that I met
                     him with a couple other people at different times.
                     Maybe four or five times.
                Q.   It’s possible just four or five?
                A.   It might be more, but I -–There were when I initially
                     met Mike, we were in a half-way house. And I really
                     didn’t know him. A mutual friend of ours, Bill Dible,
                     reintroduced me to him, I would say, and told me he
                     had 5,000 pills.

Transcript (“Tr.”) (docket nos. 579, 580, 581), at 73.
      There was a second reference to Defendant’s imprisonment during the direct

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examination of William Dible:
              Q.     And how do you know him?
              A.     Originally met him when we were being transported to
                     prison.

Id. at 349.

       Attorney Wingert did not file a motion to exclude this evidence. Had she filed such
a motion, the court would have denied it. This evidence was relevant under Federal Rules
of Evidence 401, 403 and 404(b) because it established that the witnesses in fact knew the
Defendant prior to the events at issue and would thus make it more likely that the witness
and Defendant would have had the opportunity and been willing to jointly participate in
unlawful conduct. United States v. Blakeney, 942 F.2d 1001, 1018 (6th Cir. 1991) (No
abuse of discretion in admitting evidence of prior incarceration where it was offered to
show the opportunity to commit the crime charged). Although prejudicial, the evidence
was not unfairly so. It should also be noted that the evidence of guilt was overwhelming
and the admission of the reference to Defendant’s prior incarceration did not cause
Defendant to be convicted.
       Defendant also claims he is entitled to a new trial because the court failed to poll
the jury as required by Federal Rule of Criminal Procedure 31(d). The transcript shows
that following the reading in open court of the verdict and the answer to the Interrogatory,
the court asked the jurors to indicate by raising their hand if they voted guilty on Count
1 and recorded that each juror raised his or her hand. The court made a similar inquiry
as to the answer to the Interrogatory. The court then asked each side if they wanted the
court to do any further polling of the jury. Each party indicated that no further polling was
necessary. Accordingly, if the court erred in not asking each juror to give a verbal
response during the polling, that error was waived when Defendant indicated no further
polling was requested. In any event, no prejudice has been shown by Defendant relative
to the manner in which the jury was polled.

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                                 VI. CONCLUSION
      In light of the foregoing, the court DENIES the Motion for New Trial and Motion
for Judgment of Acquittal (docket no. 587) and the Motion to Reconsider (docket no. 606).
      IT IS SO ORDERED.
      DATED this 13th day of May, 2009.




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